Case 2:05-cr-20228-SH|\/| Document 5 Filed 07/11/05 Page 1 oi° 2 Page|D 3

UNITED STATES DISTRICT COURT Fll.ED BY ____,,__,_ 1161
WESTERN DISTRICT OF TENNESSEE
Western Division 05 JUL l l PH 33 l l
lHOM*£ M.
UNITED STATES OF AMERICA mg UO§ gsw
-vs- Case No. 2:05cr20228-001Ma

ANTONIO PEGUES

 

ORDER OF TEMPORARY DETENTION
PENDING H]i`.ARINGl PURSUANT TO
BAIL REFORM ACT
Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 12, 2005 at 2:45 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

Marshal and produced for the hearing.

Date: July 8, 2005 r-"7°'"" J
s. THOMAS ANDERSON
UNITED srA'rEs MAGISTRATE JUDGE

 

'lf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(f)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(0 are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (81‘85) Order of Temporaa'y Detention

This doci,ment entered on the docket sheet tn compliance
with H\t|e 55 and/or 32ib) FRCrP on "

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CR-20228 Was distributed by faX, mail, or direct printing on
July 14, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

